                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      No.:   2:09-CR-031
                                                   )
BOBBY PORTER                                       )

                            MEMORANDUM AND ORDER

       This criminal case is before the court on the defendant’s pro se motion for sentence

reduction [doc. 1298], which has been rendered moot by the supplemental motion filed by

counsel. [Doc. 1381]. The defendant asks the court to reduce his sentence pursuant to 18

U.S.C. § 3582(c)(2) and in accordance with Amendments 782 and 788 to the United States

Sentencing Guidelines Manual (“U.S.S.G.”). The government has responded [doc. 1393],

deferring to the court’s discretion whether and to what extent to grant any such reduction,

subject to the limitations of 18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10.

I.     Authority

       “Federal courts are forbidden, as a general matter, to modify a term of imprisonment

once it has been imposed, but the rule of finality is subject to a few narrow exceptions.”

Freeman v. United States, 564 U.S. 522, 526 (2011) (internal citation and quotation marks

omitted). One such exception is identified in 18 U.S.C. § 3582(c)(2):

       [I]n the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission . . . , the court may reduce the term
       of imprisonment, after considering the factors set forth in [18 U.S.C.] section
       3553(a) to the extent that they are applicable, if such a reduction is consistent
       with applicable policy statements issued by the Sentencing Commission.




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       In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the court must first identify “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of

the initial sentencing.”    Dillon v. United States, 560 U.S. 817, 827 (2010) (internal

quotation marks and citation omitted); see also U.S.S.G. § 1B1.10(b)(1) (2016).

Amendment 782, which became effective on November 1, 2014, revised the guidelines

applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S.S.G. app. C,

amend. 782 (2014). Amendment 788, which also became effective on November 1, 2014,

identified Amendment 782 as retroactive. See id., amend. 788.

       Other than substituting Amendment 782 for the corresponding provision applicable

when the defendant was originally sentenced, the court “shall leave all other guideline

application decisions unaffected.” See U.S.S.G. § 1B1.10(b)(1) (2016). The court “shall

not” reduce a defendant’s term of imprisonment to a term “less than the minimum of the

amended guideline range,” nor to a term “less than the term of imprisonment the defendant

has already served.” Id. § 1B1.10(b)(2)(A), (C). 1 In addition, the commentary to guideline

1B1.10 provides that a court must also consider the § 3553(a) sentencing factors and the


       1
          Guideline 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below the amended guideline range—namely, if the defendant originally received a
below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
assistance to authorities.” Id. § 1B1.10(b)(2)(B). No such motion was filed as to the present
defendant.
                                               2


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danger to the public created by any reduction in a defendant’s sentence. See id. cmt. n.1(B).

A court may further consider a defendant’s post-sentencing conduct. See id.

II.      Factual Background

         By judgment dated September 1, 2010, this court sentenced the defendant to a 235-

month term of imprisonment as to Count One (a cocaine base conspiracy). The defendant’s

guideline range was 292 to 365 months, based on a total offense level of 35 and a criminal

history category of VI. The court granted the defendant’s motion for downward variance

and imposed the below-guideline 235-month sentence. [See Statement of Reasons].

According to the Bureau of Prisons, the defendant is presently scheduled for release on

April 8, 2026.

III.     Analysis

         Applying Amendment 782, the defendant’s new guideline range is 188 to 235

months, based on a total offense level of 31 and a criminal history category of VI. Thus,

the defendant was originally sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission.

         The court has considered the filings in this case, along with the relevant 3553(a)

factors. Additionally, the court has considered the danger to the public as the result of any

reduction in the defendant’s sentence, the seriousness of the defendant’s offense, the

defendant’s post-sentencing conduct, and the need to protect the public. See id. § 1B1.10




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cmt. n.1(B)(ii). Having done so, the court finds that the defendant should be granted a

sentence reduction. 2

IV.     Conclusion

        For the reasons stated herein, the defendant’s pro se motion for sentence reduction

[doc. 1298] is DENIED AS MOOT, and the supplemental motion filed by counsel [doc.

1381] is GRANTED. The defendant’s term of imprisonment is reduced to 188 months.

        Except as provided above, all provisions of the judgment dated September 1, 2010,

shall remain in effect.

              IT IS SO ORDERED.

                                                           ENTER:



                                                                  s/ Leon Jordan
                                                            United States District Judge




2
  The reduced sentence cannot, however, include a downward variance (unrelated to substantial
assistance) below the new guideline range, even though such a variance was previously granted at
sentencing. See United States v. Taylor, 815 F.3d 248 (6th Cir. 2016).
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